




02-11-143-CR









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-11-00143-CR

&nbsp;

&nbsp;


 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Clayton C. Bevers
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


&nbsp;

&nbsp;

------------

&nbsp;

FROM County
Criminal Court No. 2 OF Tarrant COUNTY

------------

MEMORANDUM
OPINION[1] AND
JUDGMENT

----------

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have considered “State=s Motion To Dismiss Appeal.”&nbsp;
The motion complies with rule 42.2(a) of the rules of appellate procedure. Tex.
R. App. P. 42.2(a).&nbsp; No
decision of this court having been delivered before we received this motion, we
grant the motion and dismiss the appeal. &nbsp;See Tex. R. App. P. 43.2(f).

&nbsp;

PER
CURIAM

PANEL:&nbsp; DAUPHINOT, GARDNER, and WALKER, JJ.

&nbsp;

DO NOT PUBLISH

Tex. R. App.
P. 47.2(b)

&nbsp;

DELIVERED: June 16, 2011









[1]See Tex. R. App. P. 47.4.







